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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                       Chapter 11

        Avon Place, LLC                                     Case no. 25-41368 (JMM)

                                    Debtor.
--------------------------------------------------------x
            NOTICE OF HEARING ON MOTION TO USE CASH COLLATERAL

               PLEASE TAKE NOTICE, that a hearing will be held before the Honorable Jill
Mazer-Marino to be conducted on April 30, 2025 at 10:00 a.m., or as soon thereafter as counsel
can be heard, at the United States Bankruptcy Court, 271 Cadman Plaza East, Brooklyn, New
York, 11201, to consider the application of Avon Place, LLC to under § 363(c) of the Bankruptcy
Code authorizing the use of “cash collateral” as that term is defined in § 363(a) of the Code.

               PLEASE TAKE FURTHER NOTICE, that those intending to appear at the hearing
must register with eCourt Appearances no later than two days prior to the hearing. The phone
number or video link for the hearing will be emailed only to those that register with eCourt
Appearances in advance of the hearing. Instructions for registering with eCourt Appearances can
be found at https://www.nyeb.uscourts.gov/node/2126. If you do not have internet access or are
otherwise unable to register with eCourt Appearances, you may call or email Judge Mazer-
Marino’s courtroom deputy for instructions at (347) 394-1844 or
JMM_Hearings@nyeb.uscourts.gov.

                PLEASE TAKE FURTHER NOTICE, that objections shall be filed with the Clerk
of the Bankruptcy Court, and served upon the undersigned to be received at least seven days prior
to the hearing date.

Dated: New York, New York
       April 4, 2025
                                                     BACKENROTH FRANKEL & KRINSKY, LLP
                                                     Proposed Attorneys for the Debtor

                                                     By: s/Mark A. Frankel
                                                            488 Madison Avenue
                                                            New York, New York 10022
                                                            (212) 593-1100
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                             Chapter 11

        Avon Place, LLC,                                          Case no. 25-41368 (JMM)

                                    Debtor.
----------------------------------------------------------x

                         APPLICATION TO USE CASH COLLATERAL

                 Avon Place, LLC (the “Debtor”), as and for its application for an order pursuant to

§ 363(c) of the Bankruptcy Code authorizing the use of “cash collateral” as that term is defined in

§ 363(a) of the Code (“Cash Collateral”), respectfully represent as follows:

                                                BACKGROUND

                1.        On March 21, 2025 (the “Petition Date”), the Debtor filed a Chapter 11

petition under Title 11 of the United States Code, 11 U.S.C. 101 et seq. (the “Bankruptcy Code”).

                2.        This case was filed to protect the value of the Debtor’s properties and to

avoid a forfeiture under a predatory foreclosure action brought by 44 Avon Road Credit LLC.

                3.        The Debtor is a Connecticut limited liability company formed in 2022. The

Debtor acquired one hundred and eighty (180) condominium units (the “Property”) at the property

known as Avon Place Condominiums and located at 44-46-47-48 Avonwood Road, Avon, CT

06001, representing 96% of the units in the building complex. Sixty-two (62 units) are located at

44, 47 and 48 Avon Road and forty-six (46) units at 46 Avon Road. One hundred and sixty-two

(162) units were purchased in October 2022 for $33,750,000, with the remaining sixteen (16) units
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being purchased from individual sellers sporadically since then, for the sum of $2,709,500. The

Debtor estimates the current value of the Property to be approximately $38,600,000.

               4.       In September 2022, the Debtor entered into two loans totaling $28 million,

originally issued by Bankwell Bank secured by the Property. The loans were always in good

standing, and in June 2024, Bankwell confirmed that payments were current.

               5.       The Property suffered fire damage in one of the buildings and certain units.

The Debtor received an insurance payment of approximately $400,000. It endorsed the funds to

Bankwell for debt service.

               6.       Shortly thereafter, the Mortgagee claims to have taken an assignment of

Bankwell’s loans, but as of this date the Mortgagee has provided no evidence of the assignment.

Before even notifying the Debtor of the assignment, let alone giving a default notice, the

Mortgagee commenced a foreclosure, in which it demands appointment of a receiver, payment in

full, and a deficiency judgement for any shortfall against Abron Rudich, the Debtor’s beneficial

owner. Apparently, the Mortgagee manufactured a default by applying the insurance check to

principal instead of ongoing debt service and then deemed there to be a default for the now unpaid

months.

               7.       The Debtor was astonished by the Mortgagee’s actions until it looked into

the background of Kyle O’Hehir, the Mortgagee’s principal. He is a real estate investor trying to

make a name for himself by acquiring distressed loans at a discount and being as aggressive as he

can to enforce collection. In online videos, he describes his approach as capitalizing on technical

defaults and the reluctance of traditional banks to take a hard line with borrowers.




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               8.       The Debtor obviously disputes that it was ever in default. The Debtor has

therefore elected Chapter 11 protection to pause collection efforts so that it can reinstate the loan

under its original terms in a Chapter 11 plan without the added default interest and penalties

claimed in the foreclosure action.

                                           APPLICATION

                9.      The Debtor seeks entry of an Order pursuant to §§363(c)(2) and 506(c) of

the Bankruptcy Code authorizing the Debtor’s use of Cash Collateral in accordance with the

budget (“Budget,” Exhibit “A”) and under the terms and conditions set forth herein, granting the

Mortgagee the adequate protection in connection therewith.

                10.     Section 363(a) of the Bankruptcy Code provides that “cash collateral”

includes both cash and cash equivalents in which a debtor and another entity have an interest.

Section 363(c)(2) of the Bankruptcy Code provides that a debtor may not use cash collateral

unless each entity that has an interest in such cash collateral consents or the Court, after notice and

a hearing, authorizes the use of cash collateral.

                11.     Here, the Debtor’s income consists of rents. The Debtor’s expenses, as set

forth on the Budget, largely consist of operating expenses, debt service, real estate taxes and

insurance. To adequately protect the Mortgagee’s interest in Cash Collateral the Debtor requests

this Court’s authorization to utilize Mortgagee’s Cash Collateral to pay such ordinary operating

expenses.

                12.     The Debtor’s use of cash collateral in the ordinary course of business will

allow the Debtor to preserve and protect its Property, and thus the Debtor will be protecting the

Mortgagee’s collateral, including cash collateral, so that it does not decline in value during this

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case. As stated in In re Pine Lake Village Apartment Co. 16 B.R. 750, 756 (Bankr. S.D.N.Y.

1982)

          . . . the application of rent income solely to maintain and repair the property so as to
          prevent further deterioration will enhance the value of the property which serves as
          the collateral for the. . . plaintiff-mortgagee's claim. [The use of such funds]
          without any diversion ... to the debtor, clearly ensures that the plaintiff-mortgagee's
          investment is adequately protected.

Accord, In re 499 W. Warren Street Associates, Ltd. Partnership 142 B.R. 53 (Bankr.

N.D.N.Y.,1992); In re Constable Plaza Associates, L.P. 125 B.R. 98, 105 (Bankr. S.D.N.Y. 1991);

In re Cardinal Industries, Inc. 118 B.R. 971 (Bankr..S.D.Ohio 1990).

                  13.    As provided for in the Budget, therefore, the Debtor seeks to use

Mortgagee’s cash collateral to pay for ordinary expenses such as debt service, taxes, insurance,

and legal fees.

                  14.    It is the Debtor's burden of proof to show adequate protection. The burden

of proof is by a preponderance of the evidence. See, §363(p) of the Bankruptcy Code; In re

Glastream Boats, Inc., 110 B.R. 611 (Bankr. M.D. Ga. 1990); Grogan v. Gamer, 498 U.S. 279

(1991).

                  15.    The Debtor believes the Property value is far in excess of the amount owed

on the obligations. Moreover, the Debtor proposes that to use the Mortgagee’s Cash Collateral

solely to (a) maintain the value of the Property though payment of the expenses substantially in

accord with the Budget, (b) maintain the cash it collects over and above its expenditures in its

debtor in possession account pending further order of this Court, and (c) to the extent that the

Mortgagee does not have a post-petition security interest in the Debtor’s post-petition assets, grant

the Mortgagee a security interest in such assets to the extent of any diminution of Cash Collateral

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(subject and subordinate to, inter alia, the fees of the United States Trustee and the professional

fees of the Debtor’s professionals). The foregoing, the Debtor believes, adequately protects the

Mortgagee’s claim.

               16.     In addition, use of Cash Collateral to pay the operating expenses of the

Hotel preserves the Property under section 506(c) of the Bankruptcy Code.

               17.     No previous request for the relief sought herein has been made by the

Debtor to this or any other Court.

                                          CONCLUSION

               WHEREFORE, the Debtor respectfully requests that the Court grant the relief

requested herein, and that the Court grant such other and further relief as the Court deems just and

proper.

Dated: New York, New York
       April 4, 2025


                                       BACKENROTH FRANKEL & KRINSKY, LLP
                                       Attorneys for the Debtor


                                       By:    s/Mark Frankel
                                              488 Madison Avenue
                                              New York, New York 10022
                                              (212) 593-1100




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                                    Chapter 11
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         Avon Place, LLC,                                                Case no. 25-41368 (JMM)

                                    Debtor.
----------------------------------------------------------x

                              ORDER FOR USE OF CASH COLLATERAL
            Upon the motion (the “Cash Collateral Motion”) for an order pursuant to §

    363(c)(2)(B) of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 4001(b)

    of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), seeking the entry of

    an order (a) authorizing Avon Place, LLC (the “Debtor”) to use cash collateral as that term is

    defined in §363(a) of the Bankruptcy Code (the “Cash Collateral”) in general accordance with

    the Budget (the “Budget”) annexed to the Cash Collateral Motion and (b) granting adequate

    protection to 44 Avon Road Credit LLC (the "Mortgagee"); and after due deliberation and

    sufficient cause appearing to me therefor; it is

            ORDERED, that the Debtor is authorized to use Cash Collateral generated by the

    Properties1 on the terms set forth herein; and it is further

            ORDERED, that pending further order of this Court, pursuant to 11 U.S.C. §§

    363(c)(2) and 506(c), the Cash Collateral shall be used by the Debtor in the ordinary course of

    its business to pay the reasonable and necessary operating expenses of the Debtor in general

    accordance with the Budget which is incorporated herein, and that without further order of the




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    Capitalized terms not defined herein shall have the meaning set forth in the Cash Collateral Motion
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Court, the Debtor may exceed any line-item in the Budget and make expenditures not on the

Budget for ordinary course of business expenses that it deems to be appropriate in its business

judgment as necessary to operate the business and maintain the Properties; and it is further

        ORDERED, that as adequate protection for the Debtor’s use of Cash Collateral, the

Debtor will (a) maintain the value of the Properties though payment of the normal monthly

expenditures in general accord with the Budget, (b) maintain the cash it collects over and

above its expenditures in its debtor in possession account pending further order of this Court,

(c) provide that all liens and security interests of the Mortgagee, if any, in the Cash Collateral

used and consumed pursuant to this Order shall constitute a claim, secured by a lien in all of

the pre-petition and post-petition assets of the Debtor in the same order of priority as existed

prior to the Petition Date (the “Adequate Protection Lien”) to the extent of any diminution in

the level of Cash Collateral as it existed as of the Petition Date, provided however that such

Adequate Protection Lien shall at all times be subordinate to (i) professional fees and

reimbursement of expenses that may be awarded pursuant to 11 U.S.C. §§330 and 331 to

professionals retained by the Debtor, (ii) any professionals employed by committees in this

case and retained by order of this Court; and (iii) quarterly fees of the United States Trustee. If

the Court subsequently determines that there has been no diminishment in the values of Cash

Collateral since the Petition Date as a result of the Debtor’s use of Cash Collateral, the

Adequate Protection Lien and all claims and priorities granted herein with respect thereto

shall be void; and it is further

        ORDERED, that the terms of this Order shall be effective until further order of this

Court; and it is further


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       ORDERED, that if any or all of the provisions of this Order are hereafter modified,

vacated or stayed by subsequent order of this or any other Court, such stay, modification or

vacation shall not affect the validity of any payments made hereunder or the validity and

enforceability of any lien, security interest or priority authorized hereby with respect to any of

the Cash Collateral which has been used pursuant to this Order, and notwithstanding such

stay, modification or vacation, any use of Cash Collateral by the Debtor prior to the effective

date of such modification, stay or vacation shall be governed in all respects by the original

provisions of this Order; and it is further

       ORDERED, that nothing herein shall constitute an admission or waiver by either

Mortgagee or the Debtor of any of their rights under the underlying note, mortgage, the

properties securing the note, or any of rights of any kind. Nor shall anything herein constitute

an admission by the Debtor of the validity and amount of the Mortgagee’s claims against the

Debtor or of the extent, priority and perfection of the Mortgagee’s security interests in the

Debtor’s assets and the Debtor reserves its rights to object to the Mortgagee’s claims and

validity, extent and priority of the Mortgagee’s security interests in the Debtor’s assets and

seek direct relief against the Mortgagee.




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